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                     IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON

                                    PORTLAND DIVISION




  TIMOTHY J. GAUTHIER AND GARTH                              Civil No.3:20-cv-01913-BR
  BACHMAN, TRUSTEES OF THE OREGON AND
  SOUTHWEST WASHINGTON NECA-IBEW
  ELECTRICAL WORKERS AUDIT COMMITTEE,
                                                               GENERAL JUDGMENT
                      Plaintiffs,
                                                                     BY DEFAULT
    vs.

  VITRO ELECTRIC, LLC,

                      Defendant.

      Defendant, Vitro Electric LLC, was served with process and failed to appear and answer

the Plaintiffs' Amended Complaint filed herein. An Order of Default was entered against

Defendant on the 14th day of December, 2020, herein.




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       NOW, THEREFORE, IT IS HEREBY ORDERED AND ADJUDGED, that Plaintiffs

recover from Defendant:

       1)        Under Plaintiffs’ First Claim for Relief, contributions of $76,613.97,

liquidated damages of $15,322.79 and interest through January 8, 2021, in the amount

of $638.54, arising from failure to pay August and September 2020 fringe benefit

contributions.

       2)        Under Plaintiffs’ Second Claim for Relief, liquidated damages of $8,701.17 and

interest of $362.53 arising from Defendant’s late payment of July 2020 fringe benefit

contributions.

       3)        Under Plaintiffs’ Third Claim for Relief, outstanding wage withholdings of

$10,246.81 and interest on late paid wage withholdings of $250.57 calculated through January

8, 2021.

       4)        Under all claims Plaintiffs, Oregon and Southwest Washington NECA-IBEW

Electrical Workers Audit Committee, Comprised of Timothy G. Gauthier and Garth Bachman,

acting on Behalf of Harrison Electrical Workers Trust Fund; Edison Pension Trust; National

Electrical Benefit Fund; International Brotherhood of Electrical Workers District No. 9 Pension

Plan; Barnes Labor-management Cooperation Committee and on Behalf of the Trustees of

Said Trust Fund, and on Behalf of the International Brotherhood of Electrical Workers, Local

48, a reasonable attorney’s fee against Defendant, in the sum of $3,325.00 and Plaintiffs court

costs in the sum of $465.00.

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                                 MONEY AWARD

a.   Judgment Creditor:                OREGON AND SOUTHWEST
                                       WASHINGTON IBEW-NECA ELECTRICAL
                                       WORKERS AUDIT COMMITTEE, comprised
                                       of TIMOTHY G. GAUTHIER and GARTH
                                       BACHMAN, acting on behalf of HARRISON
                                       ELECTRICAL WORKERS TRUST FUND;
                                       EDISON PENSION TRUST; NATIONAL
                                       ELECTRICAL BENEFIT FUND;
                                       INTERNATIONAL BROTHERHOOD OF
                                       ELECTRICAL WORKERS DISTRICT NO. 9
                                       PENSION PLAN; BARNES LABOR-
                                       MANAGEMENT COOPERATION
                                       COMMITTEE and on behalf of the Trustees of
                                       said Trust Fund, and on behalf of the
                                       INTERNATIONAL BROTHERHOOD OF
                                       ELECTRICAL WORKERS, LOCAL 48, c/o
                                       Linda J. Larkin, Attorney, 210 SW Morrison
                                       Street, Suite 500, Portland, OR 97204

b.   Attorney for Judgment Creditor:   Linda J. Larkin
                                       503-546-9616
                                       210 SW Morrison St., Suite 500
                                       Portland, OR 97204

c.   Judgment Debtor:                  John Vitro managing member
                                       Vitro Electric, LLC.
                                       18489 S. Ferguson Road
                                       Oregon City, OR 97045

     DOB:                              N/A
     EIN:                              XX-XXXXXXX

     ODL:                              N/A

d.   Attorney for Judgment Debtor:     None.

e.   Person or Public Body Entitled
     to Portion of payment made
     on Judgment:                      None.

f.   Amount of Money Award:            $112,113.91


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g.   Attorney fees:                  $3,325.00

h.   Costs Award:                    $465.00

i.   Prejudgment Interest:           Included in Money Award

j.   Post-Judgment Interest:          10% per annum on fringe benefit contributions
                                      of $76,613.97 and 9% per annum on unpaid
                                      wage withholdings of $10,246.81.

     DATED this 20th day of January, 2021.


                                             /s/ Anna J. Brown

                                     The Honorable Judge Anna J. Brown
                                     U.S. Senior District Court Judge
                                     for the District of Oregon




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